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                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE:                                          :
                                                :       Chapter 13
         PIERRE R PAUL                          :
                                                :       Case No. 20-14528-MDC
                                Debtor.         :

                   MOTION OF DEBTOR TO APPROVE PARTIAL CLAIM

         PIERRE R PAUL (the “Debtor”), by and through their undersigned counsel, hereby

submits this Motion to Approve Partial Claim with the U.S. Department of Homeland Security

(“HUD”), serviced by Midland Mortgage (“Midland”), and in support thereof respectfully states

the following:

         1.      The Debtor filed a voluntary petition for relief under chapter 13 of the bankruptcy

code on November 23, 2020 (the “Petition Date”).

         2.      The Debtor owns real property located at 7517 Mayland Street, Philadelphia, PA

19138 (the “Property”).

         3.      The Property is encumbered by a mortgage held by MidFirst Bank in the

approximate amount of $156,860.57 (the “First Mortgage”).

         4.      On or about July 31, 2023, HUD, by and through Midland, offered the Debtor a

partial claim in the amount of $15,089.31 (the “Partial Claim”). See Exhibit “A.”

         5.      The Partial Claim shall act as a subordinate, interest free loan to the First Mortgage,

to be paid at either (a) the payoff or refinance of the First Mortgage; (b) sale of the Property; or (c)

maturity of the First Mortgage.

         6.      The Partial Claim shall cure any post-petition mortgage arrears—if any—owed on

the First Mortgage as of September 1, 2023.
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       7.      The Partial Claim will not impose any undue burden on the Debtor, and will not

prejudice the Debtor, the chapter 13 trustee, or any of the Debtor’s creditors.



       WHEREFORE, the Debtor respectfully requests this Honorable Court enter an Order

approving the Partial Claim, and for such other and further relief as the Court deems just and

appropriate.

                                                      Respectfully submitted,

Dated: August 1, 2023                                  /s/ Brad J. Sadek
                                                      Brad J. Sadek, Esquire
                                                      Sadek Law Offices
                                                      Two Penn Center
                                                      1500 JFK Boulevard, Suite 220
                                                      Philadelphia, Pennsylvania 19102
                                                      (215) 545-0008
                                                      brad@sadeklaw.com

                                                      Counsel to the Debtor
